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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


                                                      Case No. 22-cv-05240-RFL
  In re Tesla Advanced Driver Assistance
  Systems Litigation                                  ORDER GRANTING IN PART AND
                                                      DENYING IN PART MOTION TO
                                                      DISMISS
                                                      Re: Dkt. No. 71




       Defendants Tesla, Inc., Tesla Lease Trust, and Tesla Finance LLC’s (together, “Tesla’s”)
Motion to Dismiss is granted as to the express and implied warranty claims and claims for
equitable relief. The remaining claims survive to the extent they rely on certain representations
described below and are dismissed to the extent they rely on the other alleged
misrepresentations. This ruling assumes the reader’s familiarity with the facts of the case, the
applicable legal standards, and the parties’ arguments.
       Warranty Claims. LoSavio has failed to state an express warranty claim. Tesla’s alleged
promise that the vehicle would be fully self-driving “within a reasonable time after” purchase
(Dkt. No. 61 ¶¶ 171–72), is not a promise to “preserve or maintain the utility or performance” of
the vehicle, Cal. Civ. Code § 1791.2(a)(1). Nor can the allegedly descriptive product names —
“Autopilot,” “Full Self-Driving,” and “FSD” — support this claim since LoSavio understood at
purchase that the vehicle was not yet fully self-driving. (Dkt. No. 61 ¶¶ 1, 18, 171.)
       LoSavio has also failed to state an implied warranty claim. As LoSavio knew at purchase
that the car was not fully self-driving, merchantability here must refer to the car’s ability to drive
safely without defect. Nothing in the Second Amended Complaint (“SAC”) shows that the



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vehicle was “unfit for its ordinary purpose” of basic, hands-on driving. In re MyFord Touch
Consumer Litig., 291 F. Supp. 3d 936, 945 (N.D. Cal. 2018) (“The law is clear that to be fit for
its ordinary purpose, a vehicle must be in safe condition and substantially free of defects.”)
(cleaned up).
       As LoSavio has twice amended these claims already, and since he has not identified how
he could sufficiently bolster these allegations upon further amendment, dismissal is with
prejudice, without leave to amend.
       Equitable Relief. As pleaded, LoSavio does not have standing to seek injunctive relief
because the FAC does not allege that LoSavio has any interest in buying another Tesla. Cf.
Davidson v. Kimberly-Clark Corporation, 889 F.3d 956, 969 (9th Cir. 2018). But LoSavio has
attested that he would have such interest if he could regain his trust in the brand’s statements and
self-driving capabilities. (Dkt. No. 74-3 ¶ 12.) See Almeida v. Apple, Inc., No. 21-CV-07109-
VC, 2023 WL 3149252, at *2 (N.D. Cal. Mar. 1, 2023) (allegations that plaintiffs intend to
purchase the product again in the future “suffice for purposes of Article III standing to pursue
injunctive relief.”). And he alleges that injunctive relief is necessary to protect against future
harm. See Graham v. Cent. Garden & Pet Co., No. 22-CV-06507-JSC, 2023 WL 2744391, at *4
(N.D. Cal. Mar. 30, 2023) (“Damages related to the products Plaintiff has already bought do not
remedy the harm from Defendant continuing to use misleading marketing statements on those
products.”). Since LoSavio’s declaration shows that he could allege standing and thus the lack
of an adequate remedy at law upon amendment, his claims for equitable relief are dismissed
without prejudice, with leave to amend.
       Fraud Claims. The remaining claims,1 which arise out of Tesla’s alleged fraud and


1
  The fraud- and related negligence-based claims are for violation of the California False
Advertising Law, violation of the California Consumer Legal Remedies Act (“CLRA”), violation
of the California Unfair Competition Law (“UCL”), fraud and deceit, negligent
misrepresentation, and negligence. The unjust enrichment claim is derivative of the fraud-based
claims. (Dkt. No. 61 ¶¶ 257–59.) Because the negligence-based claims are pleaded with
sufficient particularity under the higher Rule 9(b) standard, the Court does not reach whether
Rule 9(b) or Rule 8(a) governs.



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related negligence, may go forward to the extent they are based on two alleged representations:
(1) representations that Tesla vehicles have the hardware needed for full self-driving capability
and, (2) representations that a Tesla car would be able to drive itself cross-country in the coming
year.2 While the Rule 9(b) pleading requirements are less stringent here, where Tesla allegedly
engaged in a systematic pattern of fraud over a long period of time, LoSavio alleges, plausibly
and with sufficient detail, that he relied on these representations before buying his car. See Royal
Primo Corp. v. Whitewater W. Indus., Ltd, No. 15-CV-04391-JCS, 2016 WL 4080177, at *8
(N.D. Cal. July 29, 2016).
       As to the first representation, LoSavio alleges that in October 2016, Tesla claimed that all
its cars going forward would have the “hardware needed for full self-driving capability.” (Dkt.
No. 61 ¶¶ 57–59.) LoSavio alleges that he viewed this statement on Tesla’s website and that he
relied upon it before making his purchase. (Id. ¶¶ 152, 155.) LoSavio alleges he also viewed
and relied upon a statement that “[a]ll Tesla vehicles produced in our factory now have full self-
driving hardware” in a Tesla newsletter that he received via email in November 2016. (Id. ¶ 154,
Ex. D.) Those statements were allegedly false because the cars lacked the combination of
sensors, including lidar, needed to achieve SAE Level 4 (“High Automation”) and Level 5 (“Full
Automation”), i.e., full autonomy. (Id. ¶¶ 30–36.) According to the SAC, Tesla’s cars have thus
stalled at SAE Level 2 (“Partial Driving Automation”), which requires “the human driver’s
constant supervision, responsibility, and control.” (Id. ¶¶ 30–34, 91.) If Tesla meant to convey
that its hardware was sufficient to reach high or full automation, the SAC plainly alleges
sufficient falsity. Even if Tesla meant to convey that its hardware could reach Level 2 only (see
Dkt. No. 71 at 9 n.4), the SAC still sufficiently alleges that those representations reasonably
misled LoSavio.
       Second, the SAC sufficiently alleges that Musk falsely represented the vehicle’s future


2
 In LoSavio’s Pre-Purchase Misrepresentations Chart, the representations regarding hardware
are labeled as Statements 1, 4, 6, and 9; while the cross-country drive representation is labeled as
Statement 11. (Dkt. No. 84-1.)



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ability to self-drive cross-country and that LoSavio relied upon these representations pre-
purchase. According to the SAC, Musk claimed at an October 19, 2016, news conference that a
Tesla car would be able to drive from Los Angeles to New York City by itself “by the end of
next year without the need for a single touch.” (Dkt. No. 61 ¶ 60.) Although not required, see
Ehret v. Uber Techs., Inc., 68 F. Supp. 3d 1121, 1129 (N.D. Cal. 2014), LoSavio cites a specific
page he viewed that reported on the conference.3 (Dkt. No. 61 ¶¶ 60, 152). But LoSavio alleges
that, as of 2023, Tesla was nowhere close to delivering on this representation. (Id. ¶¶ 122, 132.)
These allegations are “enough to give defendants notice of the particular misconduct so that they
can defend against the charge and not just deny that they have done anything wrong.” Kearns,
567 F.3d at 1124 (cleaned up).
       Claims based on the other alleged representations, which primarily claim that future
developments are forthcoming at an unspecified time, are dismissed for failure to plausibly
allege that those statements were false or misleading when made or Tesla’s knowledge of the
falsity. LoSavio does not plausibly allege that those representations promised fully autonomous
self-driving by any particular timeline, let alone that Tesla knew that timeline to be unrealistic.4


3
  During oral argument, Tesla argued that a specific citation to the page viewed was needed to
understand the statement’s context. Tesla thus implicitly sought judicial notice of the page’s
contents. That request is granted. Having reviewed the cited article, its disclaimers are
insufficient to render implausible LoSavio’s allegation that he was reasonably misled by Musk’s
statement. See Paul A. Eisenstein, “A Driverless Tesla Will Travel from L.A. to NYC by 2017,
Says Musk,” NBC News (Oct. 20, 2016), https://www.nbcnews.com/business/autos/driverless-
tesla-will-travel-l-nyc-2017-says-musk-n670206 (“Effective immediately, Tesla will equip all
models with a network of cameras and other sensors capable of watching everything happening
around the vehicle and making instant decisions on how to respond to potential problems. . . .
But Tesla cautioned that not all the new features will be activated immediately upon the launch
of the Model 3, which is expected to occur sometime in late 2017. It first needs to clock
‘millions of miles of real-world driving’ to ensure everything works properly.”).
4
  Specifically, claims based on Statements 2, 3, 5, 7, 8, and 10 in LoSavio’s Pre-Purchase
Misrepresentations Chart are dismissed. (Dkt. No. 84-1.) For example, the website from which
Statements 2 and 3 are excerpted states: “Build upon Enhanced Autopilot and order Full Self-
Driving Capability on your Tesla. This doubles the number of active cameras from four to eight,
enabling full self-driving in almost all circumstances, at what we believe will be a probability of
safety at least twice as good as the average human driver. The system is designed to be able to
conduct short and long distance trips with no action required by the person in the driver’s seat.
. . . Please note that Self-Driving functionality is dependent upon extensive software validation
and regulatory approval, which may vary widely by jurisdiction.” (Dkt. No. 61 ¶ 53, Ex. C


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       Statute of Limitations. Taking the SAC at its word, the statute of limitations on
LoSavio’s surviving claims are tolled. All of LoSavio’s claims have limitations periods ranging
from two to four years. (See Dkt. No. 57 at 14 n.5.) LoSavio bought his car in January 2017
and brought this action over five years later, in September 2022. (Dkt. No. 61 ¶ 16.) Without
tolling, LoSavio’s claims would therefore be barred as untimely. But, at the pleading stage,
dismissal for untimeliness is appropriate “only when the running of the statute of limitations is
apparent on the face of the complaint.” U.S. ex rel. Air Control Techs., Inc. v. Pre Con Indus.,
Inc., 720 F.3d 1174, 1178 (9th Cir. 2013) (cleaned up). Here, the SAC plausibly invokes both
the delayed discovery rule and the doctrine of equitable tolling.
       Under the delayed discovery rule, accrual is delayed “until the plaintiff has, or should
have, inquiry notice of the cause of action” if the plaintiff pleads facts showing “(1) the time and
manner of discovery and (2) the inability to have made earlier discovery despite reasonable
diligence.” Fox v. Ethicon Endo-Surgery, Inc., 110 P.3d 914, 920–21 (Cal. 2005) (emphasis in
original). LoSavio alleges that his discovery came in April 2022, after Tesla Service declined to
update his car’s cameras. (Dkt. No. 61 ¶¶ 167–69.) It was not the first time Tesla allegedly
failed to update LoSavio’s car. (See id. ¶¶ 159, 161, 165, 167 (describing LoSavio’s attempts to
update and repair his car over the years).) But after years of relying on Tesla’s repeated claims
that the car’s software was the source of delay, and that software fixes were perpetually
forthcoming, LoSavio allegedly discovered that he had been misled by Tesla’s claim that his car
had all the hardware needed for full automation. (Id. ¶¶ 163–69.) LoSavio’s repeated attempts
to update his car’s technology and talk with Tesla establish a plausible basis for diligence.
Although Tesla contends that it should have been obvious to LoSavio that his car needed lidar to
self-drive and that his car did not have it, LoSavio plausibly alleges that he reasonably believed
Tesla’s claims that it could achieve self-driving with the car’s existing hardware and that, if he
diligently brought his car in for the required updates, the car would soon achieve the promised


(emphasis added).) This speculative statement does not promise full automation on any specific
timeline.


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results. Having adequately alleged diligence, the extent of his diligence and its reasonableness
are questions of fact not suitable for disposition at this stage. See Ovando v. Cnty. of Los
Angeles, 71 Cal. Rptr. 3d 415, 429 (Ct. App. 2008) (“The question when a plaintiff actually
discovered or reasonably should have discovered the facts for purposes of the delayed discovery
rule is a question of fact unless the evidence can support only one reasonable conclusion.”).
       Equitable estoppel also applies to LoSavio’s claims because of Tesla’s alleged lulling.
Every year after LoSavio’s purchase, Musk allegedly repeated that Tesla’s cars were getting
closer and closer to full automation, and that the next year — every “next” year — the cars
would drive themselves. (See, e.g., Dkt. No. 61 ¶¶ 66, 78, 84, 92.) As LoSavio noted during the
hearing, these were not mere recitations. With each iteration, Musk’s statements became more
specific. For example, in April 2017, Musk allegedly said that Tesla owners could sleep while
their cars drove in about two years. (Dkt. No. 61 ¶ 64.) The next year, Musk allegedly claimed
that Tesla would have over a million robo-taxies on the road in 2020. (Id. ¶ 78.) And in January
2021, Musk allegedly said he was “very confident” that Tesla would achieve SAE Level 5
autonomy that year based on the technical roadmap and beta iterations. (Id. ¶ 95.) This is not, as
Tesla advocated at the hearing, equivalent to a company continuing to lie about its bedsheets’
thread count without admitting its prior error. Tesla did not recite the same lie time and time
again; instead, it allegedly lied about its progress incrementally and with increasing specificity
over time. For this stage, the SAC therefore sufficiently alleges “active conduct by the
defendant above and beyond the wrongdoing upon which” LoSavio’s claim is based. Lukovsky
v. City & Cnty. of San Francisco, 535 F.3d 1044, 1052 (9th Cir. 2008) (cleaned up).
       To summarize, the negligence- and fraud-based claims against Tesla, i.e., the claims for
false advertising, CRLA and UCL violations, fraud and deceit, negligent misrepresentation, and
negligence; and the derivative unjust enrichment claim, may go forward to the extent they rely
on representations regarding the car’s hardware and imminent cross-country driving abilities,
described as Statements 1, 4, 6, 9, and 11 in LoSavio’s Pre-Purchase Misrepresentation Chart.
(Dkt. No. 84-1 Statements 1, 4, 6, 9, and 11.) To the extent these claims rely on the other alleged



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misrepresentations (Dkt. No. 84-1 Statements 2, 3, 5, 7, 8, and 10), they are dismissed with
prejudice without leave to amend. LoSavio has had the opportunity to correct the deficiencies in
those allegations but has not done so in prior rounds of amendment, indicating that allowing
further amendment would be futile. The claims for equitable relief are dismissed without
prejudice, with leave to amend, and the express and implied warranty claims are dismissed with
prejudice without leave to amend. Any amended complaint is due by June 5, 2024. Tesla’s
response (either to the amended complaint or to the current version if no amended complaint is
filed) is due by June 19, 2024.
        The Case Management Conference is reset for June 5, 2024, at 10:00 AM in San
Francisco – Videoconference Only. A joint Case Management Statement is due by May 29,
2024.



        IT IS SO ORDERED.

Dated: May 15, 2024




                                                            RITA F. LIN
                                                            United States District Judge




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